  Case 19-10782        Doc 15   Filed 03/28/19 Entered 03/28/19 14:31:53         Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


 In re                                             IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                  CHAPTER 13
                Debtor                             CASE NO.: 19-10782


                 NOTICE OF RESCHEDULED MEETING OF CREDITORS

    NOTICE IS HEREBY GIVEN that the Meeting of Creditors scheduled for April 10, 2019 in

the above-captioned matter has been rescheduled. The Meeting of Creditors shall now take place

on Wednesday, May 1, 2019 at 10:00 AM in Room 325, U.S. Trustee Meeting Room, J.W.

McCormack Post Office & Court House at 5 Post Office Square in Boston, Massachusetts.


Date: March 28, 2019                       /s/ Richard N. Gottlieb, Esq.
                                           Richard N. Gottlieb, Esq. BBO#: 547970
                                           Law Offices of Richard N. Gottlieb
                                           Ten Tremont Street
                                           Suite 11, 3rd Floor
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                                           (617) 742-4491
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                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
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 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                        CERTIFICATE OF SERVICE FOR
               NOTICE OF RESCHEDULED MEETING OF CREDITORS

 I, Richard N. Gottlieb, Esq., hereby certify that I have this day served a copy of the Notice of

Rescheduled Meeting of Creditors upon the persons listed below, by first-class mail, postage

paid or, where indicated, by the Court’s CM/ECF electronic messaging System.


Date: March 28, 2019                         /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO#: 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, Massachusetts 02108
                                             rnglaw@verizon.net
                                             (617) 742-4491


Parties Served:

Carolyn Bankowski, Esq.                             Chase Card Services
Chapter 13 Trustee                                  Correspondence Dept
(Served via CM/ECF)                                 Po Box 15298
                                                    Wilmington, DE 19850
Barclays Bank Delaware
Attn: Correspondence                                Christopher and Andrea Haas
Po Box 8801                                         164R Summer Street
Wilmington, DE 19899                                Arlington, MA 02474

Capital One                                         Deborah G. Hankinson, Esq.
Attn: Bankruptcy                                    HANKINSON, PLLC
Po Box 30285                                        750 N. St. Paul Street, Ste. 1800
Salt Lake City, UT 84130                            Dallas, TX 75201
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